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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


TRAVONE D. WILLIAMS,               )
                                   )
     Plaintiff,                    )
                                   )        CIVIL ACTION NO.
     v.                            )          2:20cv374-MHT
                                   )               (WO)
OFFICER T. BOYD, et al.,           )
                                   )
     Defendants.                   )

                             JUDGMENT

    In accordance with the memorandum opinion entered

today, it is the ORDER, JUDGMENT, and DECREE of the

court as follows:

    (1) The        United       States      Magistrate          Judge's

recommendation (doc. no. 7) is adopted.

    (2) This lawsuit is dismissed without prejudice for

failure    to    prosecute   and   follow       the   orders    of    the

court.

    No costs are taxed.

    The clerk of the court is DIRECTED to enter this

document    on    the   civil   docket     as    a    final    judgment
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pursuant   to   Rule   58   of    the   Federal    Rules    of   Civil

Procedure.

    This case is closed.

    DONE, this the 28th day of September, 2020.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
